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1                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                 EASTERN DIVISION

3     ELOISE LOCKHART,                           )   Docket No. 13 C 9323
                                                 )
4                        Plaintiff,              )   Chicago, Illinois
                                                 )   December 7, 2015
5                 v.                             )   9:07 a.m.
                                                 )
6     HSBC FINANCE CORPORATION,                  )
      et al.,                                    )
7                                                )
                         Defendants.             )
8

9                        TRANSCRIPT OF PROCEEDINGS - Status
                       BEFORE THE HONORABLE THOMAS M. DURKIN
10
      APPEARANCES:
11
      Pro Se Plaintiff:         MS. ELOISE LOCKHART
12                              1721 Hillcrest Drive
                                Irving, TX 75062
13

14    For the HSBC,             PILGRIM CHRISTAKIS LLP by
      MERS and Pilgrim          MR. JASON A. JULIEN
15    Christakis                53 W. Jackson Boulevard, Suite 1515
      Defendants:               Chicago, IL 60604
16

17    For Defendants            ANSELMO LINDBERG OLIVER PC by
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20    For Defendant             COLLINS BARGIONE & VUCKOVICH by
      Arnold Kaplan:            MS. KATHRYNE R. HAYES
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                                Chicago, IL 60602
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1          (In open court.)

2                THE CLERK:     13 C 9323, Lockhart v. HSBC Finance.

3                MR. JULIEN:      Good morning, your Honor.         Jason Julien

4     for HSBC and MERS.

5                THE COURT:     Good morning.

6                MS. HAYES:     Good morning, your Honor.          Kathryne Hayes

7     for defendant Arnold Kaplan.

8                MR. DEISINGER:      Robert Deisinger for the Lindberg

9     defendants.

10               MS. LOCKHART:      Good morning, your Honor.         Eloise

11    Lockhart, plaintiff.

12               THE COURT:     All right.      There was something happening

13    in state court on November 19th.           What happened, if anything?

14               MR. JULIEN:      We briefed cross-motions for summary

15    judgment.     So Ms. Lockhart moved for summary judgment, and we

16    moved for summary judgment on Ms. Lockhart's Interest Act

17    counterclaim, the Illinois Interest Act, and her counterclaim

18    to quiet title and rescind mortgage.

19               Ms. Lockhart's motion for summary judgment was denied.

20    Our motion for summary judgment on the Interest Act

21    counterclaim was granted, and our motion for summary judgment

22    on the counterclaim to quiet title was also granted, and

23    rescind mortgage.

24               So at this point the only issue remaining in the state

25    court case is our foreclosure complaint, and we're currently
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1     assessing how that ruling impacts the issues in this case and

2     if there's anything in our foreclosure complaint that would

3     impact her HOEPA rescission claim in this case.

4                But looking at the ruling that we got, I believe her

5     Interest Act claims in this case would be no longer an issue

6     based on the way the judge ruled.

7                THE COURT:     All right.      Ms. Lockhart, what do you say

8     in response to that?

9                MS. LOCKHART:      I agree with what he's indicating.

10               But they also filed a motion for unclean hands, which

11    was also granted.       So -- and the Interest Act claim, which I

12    filed in the state court, wasn't the same -- wasn't under the

13    same section as the Interest Act claim that I filed in this

14    court.    So I don't -- you know, I don't see how that would have

15    any impact on the Interest Act claims that I felt should be

16    pending here.

17               So mostly I agree with what he said.

18               THE COURT:     All right.      Anything from the other

19    parties?

20               MS. HAYES:     No, your Honor.

21               MR. DEISINGER:      I'm curious if the orders entered by

22    the Court had findings that there was no cause to delay

23    enforcement or appeal the orders, especially on -- as far as

24    the judgment on the counterclaim.

25               MR. JULIEN:      I'm not sure --
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1                MS. LOCKHART:      There -- there wasn't any 403 or --

2     they're all interlocutory at this point.             Before December 19th,

3     I'll file a motion for reconsideration.             If that's denied, I'll

4     ask for another interlocutory appeal regarding the -- the

5     motion that's been filed.

6                THE COURT:     All right.      Well, I stayed the action in

7     this case because I think there's too much going on in the

8     state court, in my opinion.         I know, Ms. Lockhart, you may

9     disagree, but I felt that the state court action, which in some

10    ways may have some preclusive effect on at least parts of this

11    case, ought to run its course before we go further on this

12    case.    It's a very-active-at-this-stage state court case.

13               And I haven't heard anything to change my mind, not if

14    you're taking motions to reconsider and presumably going to

15    take an appeal from some of the rulings of the state court

16    judge.

17               It is a 2013 case.       What do the parties say?         Is there

18    a -- do you want to go forward on this case?              I believe that

19    there ought to be some final disposition in state court, a

20    nonappealable one or one that has been appealed and either

21    affirmed and reversed, so that if there is preclusive effect

22    that -- any of those rulings have preclusive effect on any

23    aspects of this case, we are not litigating two things -- two

24    of the same things in two different courts.

25               If there's a reason I should change my mind, say so
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1     now.

2                MS. LOCKHART:      Your Honor, the state court case

3     doesn't involve the same parties.           In the state court case, the

4     attorneys for Pilgrim Christakis -- they are attorneys in the

5     state court case; here they are defendants.              So they don't --

6                THE COURT:     One of the defendants.

7                MS. LOCKHART:      I'm sorry.     What?

8                THE COURT:     One of the defendants here.

9                HSBC is a defendant here, correct?

10               MR. JULIEN:      That's correct, your Honor.

11               THE COURT:     In the federal court case.          I thought it

12    was.

13               MS. LOCKHART:      No, HFC III is a defendant in the state

14    case, not HSBC.

15               THE COURT:     But they are the same company, in essence,

16    aren't they?

17               MS. LOCKHART:      I think -- I don't know.         I've never --

18    I've never seen their statement.

19               But the -- but HFC III I think is a wholly owned

20    subsidiary of HSBC.

21               THE COURT:     All right.      Well, which makes them

22    essentially the same party for purposes of -- they're going to

23    argue, I expect, that any rulings by the state court that at

24    least go in their favor have preclusive effect here.

25               So I -- although some of the parties are different,
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1     the key party in a foreclosure action is the party that holds

2     the mortgage that is -- or the party that made the loan that's

3     seeking to foreclose.

4                MS. LOCKHART:      I'm sorry, your Honor.         I didn't hear

5     what you said about the parties who own -- who what?

6                THE COURT:     Well, the key party in any foreclosure

7     case is the party that's seeking the foreclosure.               That's one

8     of the defendants in this case, isn't it?

9                MR. JULIEN:      That's correct, your Honor.         And so the

10    rescission claim is to rescind the mortgage.              And you can only

11    do that against the party that owns the mortgage.

12               THE COURT:     Right.

13               MS. LOCKHART:      Or the -- well, okay.

14               THE COURT:     Go ahead.     What?

15               MS. LOCKHART:      That's okay, your Honor.

16               THE COURT:     All right.      Well, is there any reason not

17    to continue the stay in this case?           I'll ask first the

18    defendants.     What's your view?

19               MR. JULIEN:      I believe it should be continued shortly.

20    I think you said there might be some preclusive effect.                 I

21    don't know if we're going to continue to litigate in state

22    court for a long time, but I think maybe we should set a brief

23    status to kind of see what happens in December in terms of

24    things Ms. Lockhart's filed.          Maybe we should come back in

25    January or February.        But I think it should be continued at
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1     least in the short term.

2                THE COURT:     All right.      First I'll ask the other

3     defendants.     What do you think?

4                MS. HAYES:     That sounds fine to me.         We're not a party

5     to the state court case, so --

6                THE COURT:     Right.

7                MS. HAYES:     -- just continuing on.

8                MR. DEISINGER:      I think that perhaps a stay of a

9     longer term of this action might be more efficient for all

10    parties involved.       I think that the -- the reason I asked about

11    the state court Rule 304(a) finding is because as long as the

12    state court's orders are interlocutory, the question of

13    preclusion is up in the air.

14               So until there's a final order in the state court case

15    that might resolve some of the issues in this case, I don't

16    believe there's any reason to discontinue the stay in this

17    case.

18               THE COURT:     All right.      Ms. Lockhart?

19               MS. LOCKHART:      Your Honor, I asked to come in when

20    your clerk called and said that perhaps there was no reason to

21    come in to this hearing today because I want to discuss another

22    issue.

23               THE COURT:     All right.      Well, first issue is whether

24    the stay should be continued.          Do you object to that?

25               MS. LOCKHART:      Yes.
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1                THE COURT:     All right.      And the basis of the

2     objection?

3                MS. LOCKHART:      Well, defendants claim that they are

4     litigating the state court case, and they're not litigating the

5     state court foreclosure case.

6                The state court foreclosure case was filed in

7     September 2007.      They filed one motion, and it was directed

8     toward my counterclaims.         Initially they did file a motion for

9     summary judgment on their foreclosure case, which they

10    withdrew.     So they haven't filed anything to affirmatively move

11    the foreclosure case since two thousand -- January of 2008.

12               And I don't think that they will because they are

13    aware that they have no lien.          Once they have no lien, they

14    can't -- they don't have the jurisdiction to proceed on this

15    foreclosure case, which is why they're not proceeding on it.

16               So I -- even though he claims that one day sometime in

17    the future he's going to file something, I don't believe it

18    because there's no indication because he never -- he never has.

19    And he knows he can't win.

20               THE COURT:     Mr. Julien, are you going to file a

21    summary judgment motion?

22               MR. JULIEN:      We are going to file something in the

23    state court case, Judge, on --

24               THE COURT:     Something.      What's --

25               MR. JULIEN:      -- on our --
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1                THE COURT:     What's the --

2                MR. JULIEN:      -- on our foreclosure complaint --

3                THE COURT:     What are --

4                MR. JULIEN:      -- on our --

5                THE COURT:     -- you going to file?

6                MR. JULIEN:      -- complaint to foreclose.

7                That's what we're currently assessing.

8                THE COURT:     What are your choices?

9                MR. JULIEN:      Well, do we move for summary judgment on

10    our foreclosure complaint is an option which we're currently

11    assessing.     It's just a matter of this came down the Thursday

12    before Thanksgiving.        We really haven't had a chance to touch

13    base with HSBC, but we're trying to decide how best and how

14    effectively to wrap the case up.           And that's why I asked for a

15    more short-term continuation.

16               THE COURT:     All right.

17               MR. JULIEN:      I think when we come back -- if we were

18    to come back in January or February, we'd have something

19    concrete to say this is how we're moving forward.               In state

20    court, I don't think we're going to just be sitting around or

21    letting it -- you know, the state court case lie dormant.

22               And I'd just note for the record, Judge, the reason we

23    have not been able to move forward with the foreclosure

24    complaint up until now is because we've been defending other

25    things that -- we couldn't move forward with the foreclosure
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1     complaint, for example, if there's a rescission/quiet title

2     counterclaim.      You know, that is impeding us moving for summary

3     judgment on the foreclosure complaint.

4                 THE COURT:     All right.

5                 MR. JULIEN:     Now that that's out of the way, we're

6     assessing how we move forward.

7                 THE COURT:     All right.

8                 Ms. Lockhart, you were going to raise something else?

9                 MS. LOCKHART:      Yes, your Honor.       I want to discuss

10    455(a).

11                THE COURT:     455(a).    You'll have to educate me on what

12    you mean.

13                MS. LOCKHART:      Disqualification, your Honor.

14                THE COURT:     Oh.    Go ahead.

15                MS. LOCKHART:      Pilgrim Christakis --

16                THE COURT:     Yes.

17                MS. LOCKHART:      -- apparently were former partners of

18    Arnstein & Lehr.       And your Honor has a brother, James Durkin --

19                THE COURT:     I have --

20                MS. LOCKHART:      -- who is a partner --

21                THE COURT:     -- a brother named James Durkin,

22    absolutely.

23                MS. LOCKHART:      -- who is a partner in Arnstein & Lehr.

24                THE COURT:     He is an income partner.

25                MS. LOCKHART:      I'm sorry.     What?
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1                 THE COURT:     He's an income partner.        He's not an

2     equity partner.       He doesn't share in the profits.

3                 Were he an equity partner and were Arnstein & Lehr a

4     set of lawyers in this case, I would disqualify myself or --

5     from hearing the case.

6                 The rules are if it's an income partner and he's not

7     involved in any representation of the case, has nothing to do

8     with it, doesn't share in the profits of the firm, then it's

9     not -- at least not mandatory for me to disqualify myself.

10                Arnstein's not in this case, are they?

11                MS. LOCKHART:      No.   But Pilgrim and Christakis and the

12    other person who was sued, Grady, they were all partners of

13    Arnstein -- with Arnstein & Lehr.

14                THE COURT:     They are now?

15                MS. LOCKHART:      I don't believe so.       I don't believe

16    they are now.

17                THE COURT:     When were they?      I was un -- Pilgrim

18    Christakis is a firm that -- they've tried a pro bono case in

19    front of me.      I was never aware they had anything to do with

20    Arnstein & Lehr.       Was it some prior iteration of the firm?

21    Were they part of Arnstein?

22                MR. JULIEN:     Two of the partners at Pilgrim Christakis

23    were partners at Arnstein & Lehr, but they left in at least the

24    middle 2000s.

25                MS. LOCKHART:      No, they left in 2009 when they
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1     filed -- when they -- when they came in on the state

2     foreclosure case.

3                 THE COURT:     All right.     So they --

4                 MS. LOCKHART:      And there's three of the partners.             It

5     was Grady, Pilgrim, and Christakis.

6                 THE COURT:     They left Arnstein in 2009?

7                 MR. JULIEN:     That's not correct.        So the firm Pilgrim

8     Christakis was formed in 2008, and that's why I said they left

9     in at least the middle 2000s.          But so at the very minimum,

10    we've been a firm since 2008, your Honor, separate from

11    Arnstein & Lehr.

12                THE COURT:     All right.     Well, I don't know when my

13    brother started, but I don't think it was -- I don't think he

14    was even there in 2008.         But it doesn't matter.        He's an income

15    partner there, and he has nothing to do with foreclosure cases.

16    That's not the work he does.

17                So if that's the basis -- if you --

18                MS. LOCKHART:      And that's --

19                THE COURT:     -- want to file a motion, go ahead.               But

20    I'm telling you it's -- the automatic disqualification that

21    would apply were he -- were he -- were his firm in front of me

22    and were he an equity partner or if he had involvement in the

23    case, then I'd just disqualify myself.             But that's not --

24    that's not these set of facts.           If there's something more, put

25    it in a written motion; I'll be happy to review it.
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1                 MS. LOCKHART:      Okay, your Honor.

2                 THE COURT:     But --

3                 MS. LOCKHART:      And --

4                 THE COURT:     -- feel free to file it.

5                 MS. LOCKHART:      Okay.

6                 THE COURT:     But I think the rules of disqualification

7     probably don't apply to this set of facts.

8                 MS. LOCKHART:      Okay.

9                 And regarding Pilgrim and Christakis, once the case

10    was filed and once you issued your August 5th, 2014, opinion, I

11    called Ms. Christakis in order to indicate to her that I wanted

12    to file a motion for reconsideration.

13                And she wrote back.        And I'd like to read what she

14    wrote back for the record.

15                THE COURT:     Go ahead.

16                MS. LOCKHART:      Okay.    "We received your yesterday's

17    voice mail concerning your intention to file a motion for

18    reconsideration of Judge Durkin's August 1st ruling under

19    Rule 59(e) and 60(b).        While you did not indicate the specific

20    basis for your request for reconsideration, Judge Durkin's

21    opinion accurately interprets the applicable law and clearly

22    provides a legal basis for the dismissal of each of your

23    claims.     As a result, we do not see any basis that would allow

24    you to prevail on a motion to reconsider.              Therefore, we do not

25    agree to your request to object to the motion to reconsider."
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1                 But here's the part that I'd like noted:

2     "Additionally, we hereby reassert our intention to seek

3     sanctions for your continuous prosecution of the case.                 As you

4     recall, back in April, the Court issued a stern warning

5     regarding the validity of your claims in the complaint and

6     invited you to withdraw your claims.            We respectfully request

7     that you stop the prosecution of the case.              Otherwise, we will

8     have no choice but to file a motion with the Court to ask for

9     sanctions, including the award of attorneys' fees incurred in

10    this case.     If you have no" -- and that's all I want to read

11    about.

12                THE COURT:     Okay.

13                MS. LOCKHART:      But my problem is that the firm,

14    Pilgrim Christakis, indicated that you issued a warning to me.

15    I didn't pay any attention to it when they wrote this to me

16    because I didn't think you were issuing any warning.                 I didn't

17    think that at that point, you know, when we were at the

18    motion-to-dismiss stage that you had come to the conclusion, as

19    they indicate here, that my claims were meritless.

20                So, you know, that's basically what I want to know.

21    If -- if, you know, what they say is accurate, then, you know,

22    I'm thinking that maybe a motion for a -- you know, maybe I

23    will file a motion under 455 if they've already -- if -- if

24    what they say is accurate.

25                THE COURT:     Well, what they say about an order of mine
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1     is kind of irrelevant.         The order speaks for itself.          You can

2     interpret it the way you want to; they can interpret it the way

3     they want to.      I don't have the order in front of me.             I can't

4     recall it, quite frankly.         But if they mischaracterized it, so

5     be it.    If they didn't, so be it.          Carefully review the order.

6                 If their characterization of it differs from yours,

7     that's just -- that's the way life -- that's the way things go.

8     Lawyers interpret judges' orders entirely from their own

9     perspective.

10                MS. LOCKHART:      And, your Honor --

11                THE COURT:     But if you want to file a motion to recuse

12    based on that --

13                MS. LOCKHART:      No, the reason that I didn't pay any

14    attention to it, because I didn't know at that time -- because

15    you hadn't disclosed it -- that Pilgrim Christakis had -- that

16    you were in -- you were considering them for an award.                 Okay?

17                THE COURT:     Well, I think --

18                MS. LOCKHART:      So I would not have --

19                THE COURT:     -- I disclosed that.        I don't know when I

20    disclosed it to you, but I -- when I nominated their firm --

21    their firm was randomly assigned to represent a defendant,

22    which is kind of unusual in a civil rights case, but because of

23    the peculiar facts of the case.           He was a Chicago police

24    officer who had been terminated from his job for unlawful use

25    of force, and he was the defendant in a civil case.
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1                 So I asked the clerk's office to randomly assign

2     someone from the trial bar to represent him; their firm did.

3     They did an exceptional job, so I nominated them, as I do every

4     year, at least one firm or individual, for an award from the

5     district court, the bar association.

6                 Most judges here nominate a firm or an individual or

7     several firms and individuals.           I think I disclosed that.           So

8     if --

9                 MS. LOCKHART:      Yes, your Honor.      I'm --

10                THE COURT:     Go ahead.

11                MS. LOCKHART:      -- I'm not saying you didn't disclose

12    it.    But it was disclosed in 2014.

13                THE COURT:     Okay.

14                MS. LOCKHART:      It was disclosed in 2015, this year,

15    after you issued the order on August 1st in 2014.

16                THE COURT:     Well, you'd have to check the docket on

17    the case.     But it's very possible I hadn't made up my mind --

18    I'm not even sure they had -- we had had the trial on that

19    case.    We may have, but I'm not sure if we did.             I'm certain I

20    hadn't made up my mind because I usually wait until the end of

21    the year before I nominate someone because it's supposed to

22    represent who I believe performed in an exemplary way during

23    the year.

24                So bottom line is, look.         If you're uncomfortable with

25    all that, put it in a motion.          I'll read it over.        I'll look at
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1     it straight up, and if I agree with it, there is some form

2     of -- unless there's an actual conflict, I'll look and see if

3     there's an appearance of a conflict.            And if I think there is,

4     I'll see if the parties want to waive it or if they don't.

5                 If I don't believe there's an appearance of a conflict

6     given the disclosures I've made throughout this case, I'll deny

7     your motion.      But you're free to make it.

8                 MS. LOCKHART:      Yes, sir.

9                 THE COURT:     Okay.    Anything else on that issue?

10                MS. LOCKHART:      Your Honor, I don't believe I was up

11    here when this gentleman indicated who he was appearing on

12    behalf of.     So if he --

13                THE COURT:     Oh, go ahead again.

14                MS. LOCKHART:      -- could just tell me that.

15                MR. DEISINGER:      Robert Deisinger for the Lindberg

16    defendants.

17                THE COURT:     All right.

18                MS. LOCKHART:      And, your Honor, you gave me until

19    August 31st to serve one of the partners in his firm.                 I served

20    him on August 31st, but he hasn't filed any appearance as yet.

21                MR. DEISINGER:      My appearance is of record.          I don't

22    understand.

23                MS. LOCKHART:      No, I don't mean for the firm; I mean

24    for the partner.

25                MR. DEISINGER:      Yeah, I have an appearance on file for
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1     Steven Lindberg and for the firm.

2                 MS. LOCKHART:      Yeah, but when you put that appearance

3     on file, you said that you weren't submitting to the

4     jurisdiction of the Court.          You were only filing your

5     appearance for purposes of filing your motion to set aside the

6     default.

7                 THE COURT:     Yeah.    Well, that happens.       People will

8     file appearances on behalf of people without having -- so that

9     you cannot later contend that the filing of the appearance

10    waives any jurisdictional defects that may exist.

11                That's fine.     You've got somebody who is on record

12    representing that defendant.          I've stayed this case.         If I lift

13    the stay, we're going to have to deal with issues on vacating

14    defaults and things like that.           But right now I've stayed the

15    case.

16                I'll continue this till late January.            I'll continue

17    the stay till that time.         HSBC or HFC III, whatever -- whoever

18    party you are representing in the state court that's going to

19    be proceeding with foreclosure, you're going to have to tell me

20    if you're going forward on the foreclosure or not.                If you're

21    not, I'm going to lift the stay.           This case has been pending

22    since 2013, and it's not right to keep it going.                We'll proceed

23    on two tracks because the track in state court isn't moving

24    fast enough.

25                But I'll give you till late January to, as you said,
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1     evaluate the most recent orders of the state court, and that

2     will be what we'll do.         So I'll give you a date in late

3     January.

4                 THE CLERK:     For a status, we could do the 28th.

5                 THE COURT:     How does that work for everybody?

6                 MR. JULIEN:     That's fine for HSBC.

7                 THE COURT:     Ms. Lockhart?

8                 MS. LOCKHART:      I'm sorry.     I didn't hear.

9                 THE COURT:     January 28th.

10                MS. LOCKHART:      I'd rather come back later than

11    January.

12                THE COURT:     That's fine.      I know you travel from out

13    of town.     You can participate by phone.          But if you want to be

14    here live, we'll give you a date that works for you.                 I'm

15    confident the defendants won't object.

16                THE CLERK:     What works for you?

17                MS. LOCKHART:      Mid-February.

18                THE CLERK:     Mid-February?

19                THE COURT:     All right.

20                THE CLERK:     You want to come back maybe on the 16th or

21    17th?

22                MS. LOCKHART:      That's fine, either one of them.

23                THE CLERK:     Is that all right, the 16th then, for

24    everybody?

25                MR. JULIEN:     That works for HSBC.
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1                 MR. DEISINGER:      If I might just have leave to appear

2     by telephone.      My wife is due with a baby on the 17th.

3                 THE COURT:     That's fine.      Contact my courtroom deputy

4     the day before and give her a number, and you can participate

5     by phone.

6                 MR. DEISINGER:      Thank you, Judge.

7                 THE COURT:     All right.     We'll do it till then.        The

8     stay will continue till then, but I would like answers to the

9     questions I've raised.

10                And, Ms. Lockhart, if you want to file your

11    disqualification motion, feel free to do so before that date.

12    I can either rule orally at that time or -- on the 16th, or, if

13    I think necessary, I'll ask for responses from the defendants.

14                MS. LOCKHART:      Thank you, your Honor.

15                THE COURT:     Okay.    Thank you all.

16                MR. DEISINGER:      Thank you, Judge.

17                MR. JULIEN:     Thank you.

18                MS. HAYES:     Thank you.

19         (Concluded at 9:28 a.m.)

20                               C E R T I F I C A T E

21         I certify that the foregoing is a correct transcript of the

22    record of proceedings in the above-entitled matter.

23

24    /s/ LAURA R. RENKE___________________                   December 15, 2015
      LAURA R. RENKE, CSR, RDR, CRR
25    Official Court Reporter
